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                          UNITED STATES DISTRICT COURT
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 10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11                                     )
    XOCHITL HERNANDEZ,                  )   CASE NO. 5:16-cv-00620-JGB-KK
 12 CESAR MATIAS, for themselves        )
    and on behalf of a class of         )
 13 similarly-situated individuals,     )
                                        )   ORDER ON JOINT STIPULATION
 14        Plaintiffs-Petitioners,      )   TO CONTINUE PRETRIAL AND
                                        )   TRIAL DATES
 15 v.                                  )
                                        )
 16                                     )   Honorable Jesus G. Bernal
                                        )
 17 JEFFERSON SESSIONS, U.S.,           )   Complaint Filed: April 6, 2016
    Attorney General, et al.,           )
 18                                     )
          Defendants-Respondents.       )
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               ORDER ON JOINT STIPULATION TO CONTINUE PRETRIAL AND TRIAL DATES
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  1        The Court has reviewed the parties’ “Joint Stipulation to Continue Pretrial and
  2 Trial Dates.” Good cause appearing, the Court amends the Civil Trial Scheduling
  3 Order [ECF No. 132] as follows:
  4
         Fact Discovery Cutoff:                           February 22, 2019
  5      Initial Expert Disclosure:                       March 15, 2019
  6      Rebuttal Expert Disclosure:                      April 5, 2019
         Expert Discovery Cutoff                          April 19, 2019
  7      Last Date to Conduct Settlement Conference:      June 21, 2019
  8      Last Date to Hear Dispositive Motions:           June 24, 2019
         Pretrial Conference:                             August 5, 2019 @ 11 a.m.
  9      Trial:                                           August 20, 2019 @ 9 a.m.
 10
 11        Counsel for the Parties shall initiate fact discovery (other than depositions) at
 12 least 45 days before the Fact Discovery Cutoff date, except in unusual circumstances
 13 and for good cause shown. Counsel for the Parties can initiate expert discovery
 14 during the expert discovery period. Counsel for the Parties will not serve Rule 34
 15 Requests for Production of Documents after December 20, 2018, except in unusual
 16 circumstances and for good cause shown.
 17        IT IS SO ORDERED
 18
 19 DATED: October 26, 2018              ________________________________________
                                         HONORABLE JESUS BERNAL
 20                                      UNITED STATES DISTRICT JUDGE
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               ORDER ON JOINT STIPULATION TO CONTINUE PRETRIAL AND TRIAL DATES
